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   8                         UNITED STATES DISTRICT COURT
   9                       SOUTHERN DISTRICT OF CALIFORNIA
  10   AMERANTH, INC., a Delaware                  CASE NO. 17-cv-1093 DMS (WVG)
       corporation,
  11                                               ORDER GRANTING MOTION TO
             Plaintiff,                            WITHDRAW
  12
              v.
  13
       SPLICK-IT, INC., a Delaware
  14   corporation, and DOES 1 through 20,
       inclusive,
  15
             Defendants.
  16

  17
       AND RELATED CROSS-
       COMPLAINT
  18

  19         This case comes before the Court on Janis Law Group and Dean T. Janis’s
  20   motion to withdraw as counsel of record for Splick-It, Inc. Counsel has filed the
  21   necessary proof of service of the motion on its client. No party has filed an
  22   opposition to the motion. After considering the motion and the record on file
  23   herein, IT IS HEREBY ORDERED:
  24         1.     Janis Law Group and Dean T. Janis’s motion to withdraw as counsel
  25   of record for Splick-It, Inc. is granted. Janis Law Group and Dean T. Janis are
  26   withdrawn as counsel for Splick-It, Inc. in this case.
  27         2.     Pursuant to Local Civil Rule 83.3(j), Splick-It, Inc. shall file a notice
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                                                                                                )
           Case 3:17-cv-01093-DMS-WVG Document 40 Filed 12/31/20 PageID.602 Page 2 of 2


                  1    of appearance of new counsel on or before January 15, 2021. If Splick-It, Inc. does
                  2    not identify its new counsel on or before January 15, 2021, the Court will hold an
                  3    Order to Show Cause hearing on January 22, 2021, at 1:30 p.m. as to why
                  4    sanctions, including dismissal of the Cross-Complaint as to Splick-It, Inc., should
                  5    not be imposed for its failure to comply with Local Civil Rule 83.3(j).
                  6            3.       For all future matters in this case, the address of record for Splick-It,
                  7    Inc. is as follows: 1881 9th Street, Suite 303, Boulder, CO 80302.
                  8       IT IS SO ORDERED.
                  9 Dated: December 31, 2020

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J ANIS L AW G ROUP ,   Declaration of Dean T. Janis iso Motion to Withdraw                        17-CV-01093-DMS (WCG)
        APC
                       As Counsel For Splick-It, Inc.
